                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION
                              NO. 5:19CR27

United States of America                     )
                                             )
     v.                                      )
                                             )
Oscar Rangel-Gutierrez                       )
____________________________________         )

                     Withdraw of Objection to Presentence Report

       Now comes Defendant Oscar Rangel-Gutierrez, who submits this document to
confirm that he withdraws his objection to the importation enhancement, as was noted
by the Government in its departure motion. Defendant does in fact withdraw that
objection and concedes the applicability of the importation enhancement contained in
Paragraph 41 of the presentence report. Similarly, Defendant has conferred with the
Government, which continues to acknowledge that it does not intend to present
evidence in support of the maintaining a dwelling enhancement.

       Therefore, the Defense contends that the correct offense level, prior to the
application of any departures or variances, is offense level 40.

       This the 31 day of July, 2019.

                                                 Respectfully submitted,

                                                 s/ Rob Heroy
                                                 W. Rob Heroy
                                                 Bar No. 35339
                                                 Attorney for Defendant
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                             CERTIFICATE OF SERVICE

      I certify that I have served the foregoing PSR Objections on opposing counsel by
submitting a copy thereof through ECF, to be sent to:

             Steve Kaufman
             Assistant United States Attorney



             This the 31 day of July, 2019.




                                                s/ Rob Heroy
                                                W. Rob Heroy
                                                Attorney for Defendant




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